                       CASE 0:12-cr-00113-ADM-FLN Doc. 2 Filed 05/03/12 Page 1 of 1

                                           LINITED STATES DISTRICT COURT
                                               DISTRICT OF MINNESOTA

TNITED STATES OF AMERICA

         v.                                                            CaseNo.:        1z-ns.     15?     '/s6
LEV{S PATE

                       APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (X )Ad Prosequendum ( )Ad Testificandum

Name of Detainee: LEWIS ANTWHANE PATE.                           III
Detained at (custodian): Dakota Counqv Jail

Detainee      is: a.)       ( X ) charged in this district by:
                                   ( ) Indictment              ( )Information               ( X ) Complaint
                            Charging Detainee With: Felon in Possession of a Firearm
         or           b.)   ( ) a witness not othenvise available by ordinary process of the Court
Detainee      will: a.) (     ) return to the custody of detaining facility upon termination of this proceeding
         or           b.)   ( X ) be retained in federal custody until final disposition of federal charges,

Appearance is necessary on May 9,2012 at2:A0 p,m. in the courtroom of The Honorable Arthur J.
Boylan
                  I
Dated:   Muy     L      2012
                                                                          Paulsen, AUSA

                                              WRIT OF HABEAS CORPUS
         (X )Ad Prosequendum                 (
                                    )Ad Testificandurn
The above application is granted and the above-named custodian. as well                        the United
for this district, is hereby O        to produce the named detai                                 ate and ti
above, and any fi.rrther           to be had in this case,      the conc                           of                     ings to
retum said detainee to                   custodian.


Pctg------                                                                                                         TE JUDGE
Please provide the follo
 A.K.A.(s) (if applicable):                                            Gender:
 Booking or Fed. Reg.#:            1?0239s
 Faciliry Address;                 1580 Hiehwav 55                            Race:    African-American

                                  Hastings. MN   55033 _                      FBI #:
 Facility Phone:                  65 -438-4700
                                       r                                                                                 \t\tr,     lJ
 Cunently Incarcerated For:       Probation Violarion
                                                                                                                   MAY   - 3 2012
                                                        RETL'IRN OF SERVICE
                                                                                                           U,S, DISTRICT COURT MPLS
                                                                                                      (SiSrdurc)


                                                                                             t/J&f r6h-zzr rfe-fZ
